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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

UNITED STATES OF AMERICA                                                        PLAINTIFF

VS.                             NO. 4:14CR00067-02-SWW

ANNIE WATKINS                                                                DEFENDANT

                                          ORDER

       An informal status conference was held by telephone with counsel of record on

December 18, 2014. Defendant Annie Watkins was represented by Lea Ellen Fowler and

the Government was represented by Assistant United States Attorney Cameron McCree.

Ms. Fowler informed the Court that Ms. Watkins is currently hospitalized in the Intensive

Care Unit suffering from chronic respiratory failure and is on a ventilator. If she is

released from the hospital, she would be admitted to long-term critical care.

       Based on Ms. Watkins’s medical prognosis, the United States will consider

dismissing the charges against Ms. Watkins, without prejudice. Plea and arraignment

proceedings are postponed until further notice.

       IT IS SO ORDERED, this 19th day of December, 2014.



                                           UNITED STATES MAGISTRATE JUDGE
